                                                    U.S. Department of Justice
                                                                                           Page 3
                                                    United States Attorney
My und                                              Southern District of New York
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278


                                                    April 4, 2025

The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, S3 24 Cr. 542 (AS)

Dear Judge Subramanian:

       The Government respectfully submits this letter regarding the S3 Indictment returned
yesterday in the above-referenced case by a Grand Jury sitting in this District (the “S3
Indictment”).

        The S3 Indictment contains three substantive changes to the charged offenses. First, Count
Four charges an additional substantive count of sex trafficking by force, fraud, or coercion, with
respect to Victim-2. (See S3 Indictment ¶ 19). Victim-2 was previously identified as a victim of
sex trafficking in Count One of the S2 Indictment. Second, Count One has been amended to
include a second special sentencing factor related to the new sex trafficking offense charged in
Count Four. (See id. ¶ 16). Third, the S3 Indictment charges the Mann Act in two separate counts
in Counts Three and Five covering conduct for Victim-1 and Victim-2, respectively. (Id. ¶¶ 18,
20). The S2 Indictment previously charged this conduct as a single Mann Act offense. In addition,
the language of Count One contains two non-substantive changes clarifying that the defendant
kidnapped and carried and displayed a firearm to female victim, and that the defendant dangled a
female victim over an apartment balcony. (Id. ¶ 12(j)).

        The Government has already produced all Rule 16 discovery and Jencks Act materials in
its possession associated with the S3 Indictment and does not expect the S3 Indictment to affect
existing pre-trial deadlines. The Government respectfully requests that the defendant be arraigned
on the S3 Indictment at the final pre-trial conference scheduled for April 25, 2025.
                                                                                 Page 2


                                         Respectfully submitted,

                                         MATTHEW PODOLSKY
                                         Acting United States Attorney

                                   By:      /s
                                         Maurene Comey / Meredith Foster /
                                         Emily A. Johnson / Christy Slavik /
                                         Madison Reddick Smyser / Mitzi Steiner
                                         Assistant United States Attorneys
                                         (212) 637-2324/-2310/-2409/-1113/-2381/-2284

cc:   Counsel of record (by ECF)
